Case 1:24-cr-00450-RDM   Document 7   Filed 10/11/24   Page 1 of 18
      Case 1:24-cr-00450-RDM        Document 7     Filed 10/11/24    Page 2 of 18




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff



v.                                       Case No. 24-30435
                                         Originating No. 24CR00450

BOBBY SHUMAKE JAPHIA,

                Defendant.
_____________________________________/

                         GOVERNMENT’S PETITION
                     FOR TRANSFER OF DEFENDANT TO
                  ANOTHER DISTRICT AND SUPPORTING BRIEF


      Pursuant to Rule 5(c)(3)(D) of the Federal Rules of Criminal Procedure, the

United States of America hereby petitions the Court for an order transferring defendant

BOBBY SHUMAKE JAPHIA, to answer to charges pending in another federal district,

and states:

      1. On October 9, 2024, defendant voluntarily appeared in the Eastern District

Michigan in connection with a federal arrest warrant issued in the District of Columbia

based on an Indictment. Defendant is charged in that district with violations of

15 U.S.C. §78j(b) & 78ff, 17 C.F.R Section 240.10b5, 18 USC Section 2 and

1512(c)(1) – Securities Fraud and Obstruction.

      2. Rule 5 requires this Court to determine whether defendant is the person

named in the arrest warrant and is entitled to a preliminary examination as described in

Paragraph One above. See Fed. R. Crim. P. 5(c)(3)(D)(ii).
      Case 1:24-cr-00450-RDM      Document 7     Filed 10/11/24   Page 3 of 18




      WHEREFORE, the government requests this Court to conduct transfer

proceedings in accordance with Rule 5 of the Federal Rules of Criminal Procedure.


                                              Respectfully submitted,

                                              DAWN ISON
                                              United States Attorney


                                              s/Darrin Crawford
                                              DARRIN CRAWFORD
                                              Assistant U.S. Attorney
                                              211 W. Fort Street, Suite 2001
                                              Detroit, MI 48226
                                              (313) 226-9100

Dated: October 9, 2024
                    Case 1:24-cr-00450-RDM          Document 7         Filed 10/11/24       Page 4 of 18
(EDMI 1/) Order 5HJDUGLQJ%UDG\0DWHULDOV



                               UNITED STATES DISTRICT COURT
                                                        for the
                                              Eastern District of Michigan

                  United States of America                 )
                             v.                            )      Case No. 24-30435
                                                           )
                       BOBBY JAPHIA
                                                           )
                                                           )


                                     ORDER 5(*$5',1*%5$'<0$7(5,$/6

3XUVXDQWWRWKH'XH3URFHVV3URWHFWLRQV$FWWKHFRXUWUHPLQGVWKHJRYHUQPHQWRILWVREOLJDWLRQVXQGHU%UDG\Y
0DU\ODQG86  WRGLVFORVHHYLGHQFHIDYRUDEOHWRWKHGHIHQGDQWDQGPDWHULDOWRWKHGHIHQGDQW¶V
JXLOWRUSXQLVKPHQW7KHJRYHUQPHQWLVRUGHUHGWRFRPSO\ZLWK%UDG\DQGLWVSURJHQ\

7KH IDLOXUH WR GR VR LQ D WLPHO\ PDQQHU PD\ UHVXOW LQ FRQVHTXHQFHV LQFOXGLQJ GLVPLVVDO RI WKH LQGLFWPHQW RU
LQIRUPDWLRQ H[FOXVLRQ RI JRYHUQPHQW HYLGHQFH RU ZLWQHVVHV DGYHUVH MXU\ LQVWUXFWLRQV GLVPLVVDO RI FKDUJHV
FRQWHPSWSURFHHGLQJVVDQFWLRQVE\WKH&RXUWRUDQ\RWKHUUHPHG\WKDWLVMXVWXQGHUWKHFLUFXPVWDQFHV



              ,7,66225'(5('




Date: October 9, 2024                                      s/David R. Grand
                                                          Judicial Officer’s Signature


                                                           DAVID R. GRAND, U.S. MAGISTRATE JUDGE
                                                          Printed name and title
Case 1:24-cr-00450-RDM   Document 7   Filed 10/11/24   Page 5 of 18
Case 1:24-cr-00450-RDM   Document 7   Filed 10/11/24   Page 6 of 18
                    Case 1:24-cr-00450-RDM                       Document 7        Filed 10/11/24    Page 7 of 18
AO 199 (EDMI 03/) Order Setting Conditions of Release                                                       Page 1   of 



                               UNITED STATES DISTRICT COURT
                                                                      for the
                                                            Eastern District of Michigan


                   United States of America                           )
                                                                      )
                                 v.                                   )
                                                                      )          Case No. 24-30435
                          Bobby Japhia                                )
                                                                      )
                                                                      )


                                 ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

       (1) The defendant must not violate federal, state, or local law while on release.

       (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by 42
           U.S.C. § 14135a.

       (3) The defendant must advise the court or the pretrial services office or supervising officer in writing
           before making any change of residence or telephone number.

       (4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve
           a sentence that the court may impose.

              The defendant must appear at (if blank, to be notified) :


              Theodore Levin U.S. Courthouse, Room 114, 231 West Lafayette Boulevard, Detroit, MI 48226
                                                                     Place
              on
                                                                 Date and Time

              If blank, defendant will be notified of next appearance.

       (5) The defendant must sign an Appearance Bond, if ordered.
                    Case 1:24-cr-00450-RDM                  Document 7   Filed 10/11/24     Page 8 of 18
AO 199 (EDMI /) Order Setting Conditions of Release                                                Page 2 of 


                                          ADDITIONAL CONDITIONS OF RELEASE

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

       (6) The defendant is placed in the custody of
          (See separate Agreement to Assume Custody of the Defendant).

   ✔   (7) The defendant must:
                ✔ (a) report, as directed, to:
                         ✔ Pretrial Services Agency.
                                 Probation Department.

                     E continue or actively seek employment. Provide verification to the supervising officer, as
                         requested.

                     F continue or start an education program and provide monthly verification to the supervising
                       officer.

                ✔    G not apply for or enter into any loan or other credit transaction without the previous written
                       permission of the pretrial services office or supervising officer.
                ✔    H surrender any passport immediately and/or enhanced identification to the supervising officer
                       as directed.              within 48 hours

                ✔     I not obtain a passport, enhanced identification or other international travel documents.

                ✔    J abide by the following restrictions on personal association, place of abode, or travel:

                            Travel restricted to the Eastern District of Michigan;
                            Travel restricted to the State of Michigan;
                          ✔ Travel restricted to: ED/MI and District of Columbia for court purposes only
                          ✔ Unless I have the previous consent of the pretrial services office, supervising officer
                            or the court.
                ✔ (h) avoid all contact, directly or indirectly, with any person who is or may become a victim or
                         witness in the investigation or prosecution, including but not limited to:
                              list to be provided by U.S. Attorney;
                           ✔ other persons: co-defendants, unless in the presence of counsel

                    (i) obtain medical or mental health treatment as directed by the supervising officer.

                                provide a co-payment for treatment costs as directed by the supervising officer.

                    (j) for all probation and/or supervised release violations, all conditions in the Judgment Order
                        under docket#                                            will remain in effect.

                    (k) maintain residence at a residential reentry center as directed by the supervising officer.
                    Case 1:24-cr-00450-RDM                   Document 7      Filed 10/11/24    Page 9 of 18
AO 199 (EDMI /) Order Setting Conditions of Release                                                     Page 3 of 




                    (l) reside at the bond address, and any changes in residence must be pre- approved by the
                        supervising officer.

                    (m) not possess a firearm, destructive device, or other dangerous weapons. Remove all
                       firearms,destructive devices or other dangerous weapons from bond address and provide
                       verification to thesupervising officer within 48 hours of release.

                    (n) surrender any Concealed Pistol License (CPL) to the supervising officer within 48 hours
                        of release.

                 (o) not use alcohol:
                           at all.
                           excessively.
               ✔ S not use or unlawfully possess a narcotic drug or other controlled substances defined in 21
                    U.S.C. § 802, unless prescribed by a licensed medical practitioner. Provide documentation of
                    anyprescribed medications to the supervising officer and any new medications prescribed
                    by alicensedmedical practitioner throughout supervision. Refrain from the use of marijuana
                    which isprohibitedby federal law.
               ✔     T submit to any testing required by the supervising officer to determine whether the
                      defendant/person under supervision is using a prohibited substance. Testing may be used
                      with random frequency and include urine testing, the wearing of a sweat patch, a remote
                      alcohol testing system, and/or any form of prohibited substance screening or testing. The
                      defendant/offender must not obstruct or attempt to obstruct or tamper with the efficiencyand
                      accuracy of any prohibited substance screening or testing.
               ✔      U participate in a program of inpatient or outpatient substance abuse therapy and counseling if
                       directed by the pretrial services office or supervising officer.
                      V participate in one of the following location restriction programs and comply with
                       requirements as directed:
                              (i) Curfew. You are restricted to your residence every day:
                                   from                                     to                                              , or
                                   as directed by the pretrial services office or supervising officer; or
                                 (ii) Home Detention. You are restricted to your residence at all times except for
                                      employment; education; religious services; medical, substance abuse, or mental
                                      health treatment; attorney visits; court appearances; court-ordered obligations;

                                                       Essential Leave may be granted to participant as deemed
                                                       appropriate by the supervising officer.
                                                       Discretionary Leave may be granted to participant as
                                                       deemed appropriate by the supervising officer.

                                 (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down except for
                                       medical necessities and court appearances or other activities specifically approved
                                       by the court.
                   Case 1:24-cr-00450-RDM                   Document 7   Filed 10/11/24     Page 10 of 18
AO 199 (EDMI /2) Order Setting Conditions of Release                                                  Page 4 of 




                              LY 6WDQG$ORQH0RQLWRULQJ<RXKDYHQRUHVLGHQWLDOFXUIHZKRPHGHWHQWLRQRUKRPH
                                 LQFDUFHUDWLRQUHVWULFWLRQV+RZHYHU\RXPXVWFRPSO\ZLWKWKHORFDWLRQRUWUDYHO
                                 UHVWULFWLRQVDVLPSRVHGE\WKHFRXUW
                                 1RWH6WDQG$ORQH0RQLWRULQJVKRXOGEHXVHGLQFRQMXQFWLRQZLWKJOREDOSRVLWLRQLQJ
                                 V\VWHP *36 WHFKQRORJ\


                    (t) submit to location monitoring as directed by the pretrial services office or supervising
                        officer and comply with all of the program requirements and instructions provided.

                                 You must pay all or part of the cost of the programs based upon your ability to pay as
                                 the pretrial services office or supervising officer determines:
                                       L    Location monitoring technology as directed by the pretrial services office or
                                            supervising officer;
                                       LL Radio Frequency (RF) monitoring;
                                       LLL Global Positioning Satellite (GPS) monitoring;
                                       LY Voice Recognition monitoring;
                                       Y Remote Alcohol Monitoring;
                                       YL SmartLINK;
                    (u) report within 24 hours to the pretrial services office, every contact with law enforcement
                        personnel, including arrests, questioning or traffic stops.

                    (v) resolve all outstanding warrants as directed by the supervising officer.

                    (w) comply with all Sex Offender Registration and Notification Act (SORNA) requirements.

                ✔ (x) Prohibited from soliciting investors or investments


                          (y) Prohibited from directly or indirectly participating in the purchase, sale, offering, or
                          promotion of any securities, including but not limited to, paid or unpaid consulting or
                          employment

                          (z) Prohibited from serving as an officer or director of a public company

                          (aa) All transfers of currency made by the defendant in the amount of $10,000 or greater
                          must be approved by Pretrial Services, except transfers made to pay legal fees in
                          connection with this case.

                          (bb) Prohibited from using a fake identity or alias other than defendant's legal name
                          "Bobby Shumake Japhia," or "Bobby Japhia."
                   Case 1:24-cr-00450-RDM                   Document 7       Filed 10/11/24    Page 11 of 18
AO 199 (EDMI 03/) Order Setting Conditions of Release                                                   Page  of 



                                           ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:
       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your
arrest, a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court
and could result in imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more
than ten years and for a federal misdemeanor offense the punishment is an additional prison term of not more than one
year. This sentence will be consecutive (i.e., in addition) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal
investigation; tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or
informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties
for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a
sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are
convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more – you
              will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years – you will
              be fined not more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony – you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor – you will be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive.
In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                   Acknowledgment of the Defendant
      I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to
obey all conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the
penalties and sanctions set forth above.



                                                                Defendant’s Signature


                                                                City and State


                                               Directions to the United States Marshal
v
✔      The defendant is ORDERED released after processing.
v      The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that
       the defendant has posted bond and/or complied with all other conditions for release. If still in custody, the
       defendant must be produced before the appropriate judge at the time and place specified.


Date: October 9, 2024                                           s/David R. Grand
                                                                Judicial Officer’s Signature

                                                                David R. Grand, U.S. Magistrate Judge
                                                                Printed name and title
                    Case 1:24-cr-00450-RDM          Document 7       Filed 10/11/24      Page 12 of 18
 AO 98 (Rev. 12/11) Appearance Bond



                                      UNITED STATES DISTRICT COURT
                                                           for the
                                               Eastern District of Michigan
                United States of America                  )
                           v.                             )
                                                          )      Case No.    24-30435
                     BOBBY JAPHIA                         )
                                              Defendant   )

                                               APPEARANCE BOND

                                                 Defendant’s Agreement
    BOBBY JAPHIA
I, ___________________________________________              (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
        ✔ to appear for court proceedings;
        ✔ if convicted, to surrender to serve a sentence that the court may impose; or
        ✔ to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                      Type of Bond

    (1) This is a personal recognizance bond.
                                     10,000
✔ (2) This is an unsecured bond of $ ___________________________________________.
    (3) This is a secured bond of $ ___________________________________________, secured by:
           $ ___________________________________________ in cash deposited with the court.
           (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                (describe the cash or other property, including claims on it – such as a lien, mortgage, or loan –
                and attach proof of ownership and value):



         If this bond is secured by real property, documents to protect the secured interest may be filed of record.

              (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the
                  surety):




                                           Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the
court may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond,
including interest and costs.
                    Case 1:24-cr-00450-RDM           Document 7       Filed 10/11/24      Page 13 of 18
AO 98 (Rev. 12/11) Appearance Bond                                                                                    Page 2



Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and
the security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant
reports to serve a sentence.

                                                       Declarations

Ownership of the Property. I, the defendant – and each surety – declare under penalty of perjury that:

    (1) all owners of the property securing this appearance bond are included on the bond;
    (2) the property is not subject to claims, except as described above; and
    (3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value while
        this appearance bond is in effect.

Acceptance. I, the defendant – and each surety – have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.

I, the defendant – and each surety – declare under penalty of perjury that this information is true. (See 28 U.S.C.
§ 1746.)



      October 9, 2024
Date: ____________________                                     __________________________________________
                                                                                   Defendant's signature

__________________________________________                     __________________________________________
              Surety/property owner – printed name                       Surety/property owner – signature and date

__________________________________________                     __________________________________________
              Surety/property owner – printed name                       Surety/property owner – signature and date

__________________________________________                     __________________________________________
              Surety/property owner – printed name                       Surety/property owner – signature and date



                                                               .,1,.,$D(66,;, CLERK OF COURT


      October 9, 2024
Date: ____________________                                     s/EDDREY BUTTS
                                                               __________________________________________
                                                                           Signature of Clerk or Deputy Clerk

Approved.

      October 9, 2024
Date: ____________________                                     s/David R. Grand
                                                               __________________________________________
                                                                                   Judge’s signature
Case 1:24-cr-00450-RDM   Document 7   Filed 10/11/24   Page 14 of 18
Case 1:24-cr-00450-RDM   Document 7   Filed 10/11/24   Page 15 of 18
Case 1:24-cr-00450-RDM   Document 7   Filed 10/11/24   Page 16 of 18
Case 1:24-cr-00450-RDM   Document 7   Filed 10/11/24   Page 17 of 18
Case 1:24-cr-00450-RDM   Document 7   Filed 10/11/24   Page 18 of 18
